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                IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                        LITTLE ROCK DIVISION

UNITED STATES OF AMERICA                                                PLAINTIFF

v.                         Case No. 4:17-cr-00319 JM

MORGAN STEPHEN POOLE, aka “Steve,”
and NATHANIEL BURROUGHS                                              DEFENDANTS

                  MOTION TO CONTINUE JURY TRIAL

      The Separate Defendant, Nathaniel Burroughts (hereafter “Burroughs”), by

his Attorney, Steven R. Davis, moves to continue the jury trial, which is now

scheduled to begin on June 18, 2018. The Defendant states in support of his

Motion the following:

      1. The Defendant, Nathaniel Burroughs, is charged with one count of

         violating 21 U.S.C. §841(a)(1), conspiracy to distribute and to possess

         with intent to distribute less than fifty (50) grams of a mixture containing

         methamphetamine, a felony, and one count of distribution of less than

         fifty (50) grams of a mixture containing methamphetamine, a felony, in

         violation of 21 U.S.C. §841(a)(1) and 841(b)(1)(B).

      2. The Court has set a jury trial in this case to begin on June 18, 2018.

      3. U.S. Magistrate Judge Jerome T. Kearney appointed the undersigned

         counsel to represent the Defendant on December 15, 2017.

      4. Burroughs moves that the trial of this matter be continued. Burroughs
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          and the Assistant U.S. Attorney are engaged in negotiations, and

          Burroughs anticipates this matter can and will be resolved without trial if

          the case is continued.

      5. The undersigned counsel has conferred with Assistant U.S. Attorney

          Michael Gordon concerning this motion for continuance. Mr. Gordon

          has advised Burrough’s counsel and counsel for the Co-defendant,

          Morgan Stephen Poole, that he does not object to a continuance of the

          trial of this case.

      6. Based upon e-mail correspondence with the Court, it appears that the

          attorney for Morgan Stephen Poole does not object to a continuance of

          the trial, either.

      7. Burroughs agrees to waive any speedy trial rights in connection with any

          continuance which the Court may grant in this case.

      WHEREFORE, the Defendant, Nathaniel Burroughs, respectfully prays that

his motion to continue the jury trial set for June 18, 2018, be granted.

                                        Respectfully submitted,

                                        /s/ Steven R. Davis
                                        Steven R. Davis, Ark. Bar #76029
                                        Attorney at Law
                                        1920 N. Main Street, #221
                                        North Little Rock AR 72114
                                        (501) 604-4525
                                        srd@stevenrdavislaw.com

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                        CERTIFICATE OF SERVICE

      I, Steven R. Davis, hereby certify that I have filed this pleading with the
Clerk of the U.S. District Court through the Electronic Case Filing (ECF) system
on June 7, 2018. ECF will automatically serve a copy of this pleading on Mr.
Michael Gordon, Assistant U.S. Attorney, P.O. Box 1229, Little Rock AR 72203,
and to Mr. R. Brannon Sloan, Attorney for Morgan Stephen Poole 217 West
Second Street, Suite 115, Little Rock AR 72201.

                                     /s/ Steven R. Davis
                                     Steven R. Davis




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